                 Case 15-28607-JKO             Doc 102       Filed 05/06/16        Page 1 of 17

                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                       Fort Lauderdale Division
                                        www.flsb.uscourts.gov

In re:                                                     Case No. 15-28607-BKC-JKO

GARY FRANCIS HOSTE,                                        Chapter 7

      Debtor.
___________________________________/

               CREDITOR’S OBJECTION TO DEBTOR’S CLAIMED EXEMPTIONS

          Creditor, Jeffrey Miller (“Miller”), by counsel, pursuant to Fed. R. Bankr. P. 4003, objects

to the Debtor’s claimed exemption(s) in the property set forth below, and in support thereof,

states as follows:

          1.       This case was commenced by the filing of a voluntary Chapter 7 petition on

October 20, 2015 (the “Petition Date”) by Gary Francis Hoste (the “Debtor”).

          2.       Miller is a creditor in this proceeding, by virtue of a Final Judgment Upon Consent,

entered on April 8, 2013 in Case # 11-61946-CIV-ROSENBAUM, in the United States District

Court for the Southern District of Florida (the “Final Judgment”), in the amount of $500,000.00

(the “Miller Claim”). Miller timely filed Claim No. 6 on March 23, 2016, in the amount of

$490,084.91, which takes into account post-judgment interest, costs and payments made post-

judgment.

                                              Procedural History

          3.       The Debtor filed his initial bankruptcy schedules and Statement of Financial

Affairs (“SOFA”) on the Petition Date [ECF No. 1].

          4.       On January 29, 2016, the Debtor filed amended schedules, including an

Amended Schedule “C” [ECF No. 56] (the “Amended Schedules”).

          5.       Pursuant to Court order dated April 7, 2016 [ECF No. 88], the deadline for Miller

to object to the Debtor’s claimed exemptions was extended to May 6, 2016. Thus, this Objection

is timely.


                                    ________________________
                                     Leiderman Shelomith, P.A., Attorneys at Law
         2699 Stirling Road, Suite C401, Ft. Lauderdale, FL 33312 w Tel. (954) 920-5355 w Fax (954) 920-5371
              Case 15-28607-JKO             Doc 102       Filed 05/06/16        Page 2 of 17

                                          Factual Background

       6.       The primary asset for which this Objection relates is the Debtor’s interest in

$37,025.81, held in a Bank United Checking Account (Acct # 1425) (the “Bank United Checking

Account”) on the Petition Date (the “Garnished Funds”). The Garnished Funds were garnished

by Miller prior to the Petition Date, pursuant to a Writ of Garnishment in a domestication of

judgment proceeding relating to the Final Judgment, in the Broward County Circuit Court, Case

No. 15-001694-CACE-18 (the “Garnishment Proceeding”).

       7.       The Debtor listed the Garnished Funds in his Amended Schedule “B”, and

claimed the Garnished Funds as exempt in his Amended Schedule “C”, pursuant to Fla. Const.

Art. X, § 4(a)(2) (in the amount of $130.00), Fla. Stat. § 222.25(4) (in the amount of $2,500.00)

and Fla. Stat. § 222.11(2)(b) (in the amount of $34,395.81).

       8.       Not only does Miller have a secured claim against the Garnished Funds, but the

Garnished Funds are not eligible to be claimed as exempt pursuant to Fla. Stat. § 222.11(2)(b),

as more particularly described below.

       9.       On March 17, 2015, the Clerk of Court in the Garnishment Proceeding issued a

Writ of Garnishment, which was served on Bank United, N.A. (“Bank United”) on March 23,

2015. Attached hereto as Composite Exhibit “A” is a copy of the Writ of Garnishment and

Return of Service.

       10.      Bank United filed an Answer to the Writ of Garnishment on April 13, 2015,

indicating that it was holding the amount of $36,625.80 in the Bank United Checking Account.

Attached hereto as Exhibit “B” is a copy of the Answer to Writ of Garnishment.

       11.      On March 30, 2015, the Debtor filed a Claim of Exemption and Request for

Hearing in the Garnishment Proceeding, indicating an exemption based on “[o]ther exemptions

as provided by law.” The Debtor specifically did not claim an exemption under Fla. Stat. §

222.11 in the Claim of Exemption and Request for Hearing, which is attached hereto as Exhibit

“C”. The basis of the Debtor’s Claim of Exemption appeared to be that the Debtor was going to

use the Garnished Funds to pay his outstanding federal income taxes, which is not a valid
                                 ________________________
                                  Leiderman Shelomith, P.A., Attorneys at Law
      2699 Stirling Road, Suite C401, Ft. Lauderdale, FL 33312 w Tel. (954) 920-5355 w Fax (954) 920-5371
                Case 15-28607-JKO              Doc 102       Filed 05/06/16         Page 3 of 17

exemption under Florida law.

         12.      On May 18, 2015, the Debtor withdrew his Claim of Exemption and Request for

Hearing in the Garnishment Proceeding (see attached Exhibit “D”).

         13.      Thereafter, two days before a hearing on the Debtor’s attorney’s Motion to

Withdraw as Counsel in the Garnishment Proceeding, the Debtor filed the instant Chapter 7

bankruptcy proceeding. At the time of the Petition Date, a Final Judgment of Garnishment was

not yet entered in the Garnishment Proceeding.

         14.      On the Debtor’s Schedule “I” [ECF No. 1], he indicated that he was a self-

employed chiropractor. Furthermore, during the course of this proceeding, the Debtor has

further testified that he is self-employed, runs his own business, and does not earn any wages.

                                               Relief Requested

         15.      Miller objects to the Debtor’s claimed exemption in the Garnished Funds 1, for the

following reasons:

         a.       The Garnished Funds were not “earnings”, under Fla. Stat. § 222.11(2), because

the Debtor was self-employed;

         b.       Even if the Garnished Funds were exempt “earnings” under Fla. Stat. § 222.11(2),

they lost their exempt character because more than six (6) months passed from the time that

they were received into the Bank United Checking Account to the Petition Date;

         c.       The Debtor has no dependents; and

         d.       The Debtor waived any entitlement to claim the Garnished Funds as exempt by

virtue of his failure to raise the exemption in the Garnishment Proceeding.




         1
           Miller has a secured claim against the Garnished Funds, pursuant to Fla. Stat. § 77.06(1), by virtue of the
service of the Writ of Garnishment on Bank United, which took place on March 23, 2015, a date that is outside any
applicable avoidance period under Chapter 5 of the United States Bankruptcy Code. Upon information and belief,
the Garnished Funds have been turned over by Bank United to the Trustee. Miller intends on requesting that the
Trustee abandon the Garnished Funds and turn the Garnished Funds over to Miller, upon the adjudication of this
Objection.

                                   ________________________
                                   Leiderman Shelomith, P.A., Attorneys at Law
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              Case 15-28607-JKO             Doc 102       Filed 05/06/16        Page 4 of 17

                                         Memorandum of Law

       A.       The Garnished Funds were not “earnings” and the Fla. Stat. § 222.11(2)
                exemption therefore does not apply

       16.      The specific exemption in the Garnished Funds claimed by the Debtor is the

“head of household exemption” set forth in Fla. Stat. § 222.11(2)(b), which provides that

“[d]isposable earnings of a head of a family, which are greater than $750 a week, may not be

attached or garnished unless such person has agreed otherwise in writing.”

       17.      Florida and Bankruptcy Courts have consistently held that “earnings” do not

include income from businesses of debtors “who run their own businesses [and] have control

over the timing and amount of their compensation.” Brock v. Westport Recovery Corporation,

832 So. 2d 209, 212 (Fla. 4th DCA 2002). See also In re Im, 495 B.R. 46 (Bankr. M.D. Fla.

2013) (same).

       18.      Based upon the Debtor’s relevant tax returns and bankruptcy schedules, during

all relevant time periods, he was self-employed and ran his own business. Accordingly, the

Debtor is not eligible to claim an exemption pursuant to Fla. Stat. § 222.11(2).

       B.       Even if they were exempt, the Garnished Funds lost their exempt character
                prior to the Petition Date

       19.      Even if the Garnished Funds were exempt “earnings” under Fla. Stat. § 222.11(2),

they lost their exempt character because more than six (6) months passed from the time that

they were received into the Bank United Checking Account to the Petition Date.

       20.      Fla. Stat. § 222.11(3) provides that “[e]arnings that are exempt under subsection

(2) and are credited or deposited in any financial institution are exempt from attachment or

garnishment for 6 months after the earnings are received by the financial institution if the funds

can be traced and properly identified as earnings”.

       21.      The Garnished Funds were on deposit in the Bank United Checking Account as of

the date of Bank United’s Answer, which was April 13, 2015. Therefore, any exemption

pursuant to Fla. Stat. § 222.11(2) expired six (6) months later, on October 13, 2015. The

Petition Date is October 20, 2015.
                                 ________________________
                                  Leiderman Shelomith, P.A., Attorneys at Law
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              Case 15-28607-JKO             Doc 102       Filed 05/06/16        Page 5 of 17

       22.      Accordingly, the Garnished Funds could not be exempt as of the Petition Date.

       C.      The Debtor has no dependents

       23.      Fla. Stat. § 222.11(2)(b) relate to disposable earnings of a “head of family”.

Pursuant to Fla. Stat. § 222.11(1)(b), “head of family” includes a person who is providing more

than one-half of the support for a child or other dependent.

       24.      Upon information or belief, the Debtor has no children.

       25.     The Debtor claimed in his schedules that his wife is a dependent. However, the

Debtor’s wife testified at her Rule 2004 Examination that she has her own finances, and at the

time the Garnished Funds were deposited into the Bank United Checking Account, she had her

own business. Furthermore, the Debtor did not claim his wife as a dependent on his 2014

federal income tax return.

       26.     As such, the Debtor cannot be a “head of family” and the Fla. Stat. § 222.11(2)(b)

exemption cannot apply.

       D.      The Debtor waived his right to claim an exemption to the Garnished Funds

       27.     As stated above, the Debtor withdrew his Claim of Exemption and Request for

Hearing in the Garnishment Proceeding. Furthermore, the Debtor did not claim an exemption

pursuant to Fla. Stat. § 222.11(2), Fla. Const. Art. X, § 4(a)(2) or Fla. Stat. § 222.25(4) in his

Claim of Exemption and Request for Hearing in the first place.

       28.     The failure to timely raise a claim of exemption after the notice of issuance of a

Writ of Garnishment waives the exemption. See Zivitz v. Zivitz, 16 So. 3d 841 (Fla. 2nd DCA

2009) (holding that a homestead exemption had been waived by failure to timely assert the

claim after notice of issuance of a writ of garnishment).

       29.      Accordingly, notwithstanding the arguments set forth above, the Debtor has

waived his entitlement to claim an exemption to the Garnished Funds pursuant to Fla. Stat. §

222.11(2)(b), Fla. Const. Art. X, § 4(a)(2) or Fla. Stat. § 222.25(4).

       30.      For all of these reasons, the Debtor’s claimed exemption in the Garnished Funds

should be disallowed.
                                 ________________________
                                  Leiderman Shelomith, P.A., Attorneys at Law
      2699 Stirling Road, Suite C401, Ft. Lauderdale, FL 33312 w Tel. (954) 920-5355 w Fax (954) 920-5371
              Case 15-28607-JKO             Doc 102       Filed 05/06/16        Page 6 of 17

                   Objections to the Debtor’s Other Claimed Exemptions

       31.      In addition to the foregoing, Miller objects to certain other of the Debtor’s claimed

exemptions, as follows:

       a.       Tenancy by the Entireties Exemption(s). The Debtor claimed certain items of

personal property as exempt, pursuant to the tenancy by the entireties exemption (11 U.S.C. §

522(b)(3)(B)), including “TV, Couch Set, Dining Set, Bed, Fouton, Fish Tank”, “Cash”, “Security

Deposit with Souza Reality, LLC”, and certain items of precious metals (46 assorted gold and

silver coins/bars and gold mapleleaf) (the “Personal Property Items”). Miller disputes that all six

required “unities” exist with each of the Personal Property Items referenced above and further

disputes that the Debtor and his wife had the intention to own these Personal Property Items as

tenants by the entireties.

       b.       80% of any 2015 Tax Refund. The Debtor claimed a 100% exemption in 80% of

any tax refund for 2015, pursuant to Fla. Stat. § 222.25(3) (Earned Income Credit) (the “Tax

Refund”). Without reviewing the Debtor’s 2015 federal income tax return, Miller disputes that

the Debtor is entitled to an exemption of 80% of any such Tax Refund.

       32.      For all of the above reasons, Miller requests that the Court disallow the Debtor’s

claimed exemptions, as specifically set forth herein.

       WHEREFORE, the Trustee respectfully requests that the Court enter an order

disallowing the Debtor’s claimed exemption(s) in the Garnished Funds, Personal Property Items

and Tax Refund and granting such other and further relief as the Court deems just and proper.

      Dated: May 6, 2016.                                  LEIDERMAN SHELOMITH, P.A.
                                                           Attorneys for Miller
                                                           2699 Stirling Road, Suite C401
                                                           Ft. Lauderdale, Florida 33312
                                                           Telephone: (954) 920-5355
                                                           Facsimile: (954) 920-5371

                                                           By:_________/s/______________
                                                                 ZACH B. SHELOMITH
                                                                 Florida Bar No. 0122548
                                                                 zshelomith@lslawfirm.net


                                 ________________________
                                  Leiderman Shelomith, P.A., Attorneys at Law
      2699 Stirling Road, Suite C401, Ft. Lauderdale, FL 33312 w Tel. (954) 920-5355 w Fax (954) 920-5371
              Case 15-28607-JKO             Doc 102       Filed 05/06/16        Page 7 of 17

                                     CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing motion was served on May 6,
2016 via the Notice of Electronic Filing (which is incorporated herein by reference), and via U.S.
Mail to Mark Bonacquisti, P.O. Box 15580, Plantation, FL 33318 and Mark Bonacquisti, 950
South Pine Island Rd # A150, Plantation, FL 33324 and Gary Francis Hoste, 711 Bay Shore Dr
# 302, Ft. Lauderdale, FL 33304.
                                                      By:_________/s/_____________
                                                              Zach B. Shelomith




                                 ________________________
                                  Leiderman Shelomith, P.A., Attorneys at Law
      2699 Stirling Road, Suite C401, Ft. Lauderdale, FL 33312 w Tel. (954) 920-5355 w Fax (954) 920-5371
Case 15-28607-JKO   Doc 102      Filed 05/06/16   Page 8 of 17




                    Composite Exhibit "A"
Case 15-28607-JKO   Doc 102      Filed 05/06/16   Page 9 of 17




                    Composite Exhibit "A"
                           Case 15-28607-JKO                  Doc 102           Filed 05/06/16        Page 10 of 17
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                                                                IN THE CIRCUIT COURT OF THE 17TH
                                                                JUDICIAL CIRCUIT IN AND FOR
                                                                BROWARD COUNTY, FLORIDA

                                                                CASE NO. CACE 15-001694

                                                                CIVIL DIVISION

         JEFFREY MILLER,

                        Plaintiff,

         vs.

         GARY HOSTE, UCRC, INC.
         and UCRC HOLDINGS, INC.,

                        Defendant,

         BANK UNITED,

                     Garnishee.
         ______________________________/


                          GARNISHEE’S ANSWER TO WRIT OF GARNISHMENT

               BANKUNITED, N.A., Garnishee in the above-styled cause, by and through its undersigned

         counsel, files this Answer of Garnishee and states:

                1.      At the time of this Answer, (plus sufficient time not to exceed one business day for

         Garnishee to act expeditiously on the Writ) and at all times between such dates, it was indebted to

         DR. GARY HOSTE, Account No. xxx-xxx1425. Pursuant to Florida law, $36,625.80 is being

         held, which is double the amount stated in the Writ of Garnishment.

                2.      Garnishee did not have in its hands, possession or control, any goods, chattels, or

         effects of Defendant(s) at the time of service of the Writ of Garnishment or at the time of this

         Answer, or at any time between such dates, and does not know of any other person(s) indebted to

         Defendant(s) or who may have any of the effects of Defendant(s) in his/her hands.

                                                       Exhibit "B"
             Case 15-28607-JKO           Doc 102      Filed 05/06/16   Page 12 of 17




                                                                CASE NO. CACE 15-001694


        3. Garnishee is obligated to pay its attorneys a reasonable fee and requests the Clerk of the

Court to award Garnishee the Statutory Fee, as provided by F.S. Section 77.28, for expenses

incurred by it in obtaining representation in and about this suit.

                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy hereof has been furnished by email on

this 13th day of April, 2015, to:

Law Guard
Post Office Box 16207
Plantation, FL 33318
Mark@LawGuard.US


                                       ANABEL I. NEMROW, ESQUIRE
                                       Attorney for Garnishee, BANKUNITED, N.A.
                                       7815 N.W. 148th Street
                                       Miami Lakes, FL 33016
                                       Telephone 305-569-3425
                                       Facsimile 786-313-1895
                                       Primary email: anemrow@bankunited.com
                                       Secondary email: msantangelo@bankunited.com
                                        By:/s/Anabel I. Nemrow_____________
                                           ANABEL I. NEMROW, ESQUIRE
                                           Florida Bar No. 765112




                                               Exhibit "B"
                   Case 15-28607-JKO
Filing # 25541971 E-Filed              Doc 102PMFiled 05/06/16 Page 13 of 17
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                                                                 CACE-15-001694

        Jeffrey Miller


        Gary Hoste,
        UCRC, Inc., and UCRC Holdings, Inc.,




           X




                         KHULLAR P.A.

                         4786 W. Commercial Blvd

                         Tamarac, FL 33319

                          954-642-2308




                                                   Exhibit "C"
                Case 15-28607-JKO        Doc 102      Filed 05/06/16       Page 14 of 17




                            30th           March              15
                                                                                   P.O BOX 16207
Mark W. Rickard, Esq.,

PLANTATION, FL 33318 and also served via e-service to Mark@ LawGuard.US.

 /Divya Khullar, Esq./


 Divya Khullar, Esq.
 Florida Bar No. 0101116
 KHULLAR, P.A.
 4786 W. Commercial Blvd.
 Tamarac, Florida 33319
 Phone: (954) 642-2308
 Fax:     (754) 999-7057
 notices@khullarlaw.com
 Attorney for Gary Hoste




                                              Exhibit "C"
Case 15-28607-JKO   Doc 102   Filed 05/06/16   Page 15 of 17




                       Exhibit "C"
Case 15-28607-JKO   Doc 102    Filed 05/06/16   Page 16 of 17




                        Exhibit "C"
                   Case 15-28607-JKO
Filing # 27385614 E-Filed               Doc 102
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                    IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                               IN AND FOR BROWARD COUNTY FLORIDA

         Jeffrey Miller,
                                                                   CASE NO.CACE-15-001694
                 Plaintiff                                         CIVIL DIVISION
         v.

         Gary Hoste, UCRC, Inc., and
         UCRC Holdings, Inc.,

                Defendant(s).
         _________________________________________/

                   NOTICE OF WITHDRAWAL, WITHOUT PREJUDICE, OF DEFENDANT’S
              EMERGENCY MOTION FOR TEMPORARY INJUNCTION AND CLAIM OF EXEMPTION

                 PLEASE TAKE NOTICE that Defendant, Gary Hoste, by and through the undersigned counsel,
         hereby withdraws his Claim of Exemption as filed on March 30, 2015 and his Emergency Motion for
         Temporary Injunction as filed with the Court on April 14, 2015. Defendant withdraws his Motions
         without prejudice and reserves the right to renew said Motions, if necessary.


                                              CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY THAT a true and correct copy of the foregoing has been furnished via e-service to
         Mark Rickard, Esq., Mark@LawGuard.US and Anabel Nemrow Esq., at anemrow@bankunited.com on this 18th day
         of May, 2015.

                                                                                    Respectfully Yours,




                                                                                    _______________________
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                                                         Exhibit "D"
